                 Case 20-41957                       Doc 31             Filed 12/18/20 Entered 12/18/20 08:58:07                                                    Desc Main

    Fill in this information to identify your case:
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                                                                                                                                                                                    EOD
                                                                                                                                                                                     12/18/2020

                                                                                                                                                           49/21
    IN THE UNITED STATES BANKRUPTCY COURT
    FOR THE EASTERN DISTRICT OF TEXAS
    Debtor 1            Jason Christopher Warren
                      First Name             Middle Name                                                  Last Name

    Debtor 2
    (filing spouse)   First Name                          Middle Name                                     Last Name




    Case Number: 20-41957



    TXEB Local Form 3015-b


                                                 ORDER CONFIRMING CHAPTER 13 PLAN
.........................................................................................................................................................................................Adopted: Dec 2017


  Upon completion of a hearing upon proper notice to consider the confirmation of the Chapter 13 Plan proposed by the
Debtor1 (the “Plan”), wherein the Court has determined that all of the requisite requirements for confirmation pursuant to §
13252 have been fulfilled by the Debtor, and that all objections to plan confirmation have been overruled or resolved by
agreement, the Court finds that just cause exists for the entry of the following order.

IT IS THEREFORE ORDERED:

    1. The Debtor's Plan filed on                           11/10/2020                                 [dkt # 21 ]            , as amended by this order, is CONFIRMED.

    2. The Debtor shall pay:

         Constant Payments:                                                                        per month for                                                 months,

         Variable Payments:                         for    60                         months pursuant to the schedule set forth in Exhibit A to this order,

together with those portions of any tax refunds required to be tendered under § 2.4 of the Plan, to:

Carey D. Ebert, Chapter 13 Trustee
P. O. Box 628
Tyler, TX 75710

 beginning 10/16/2020               and continuing until all of the allowed claims provided for by the Plan have been paid
in accordance with the provisions of the Plan, this Order, or any subsequent order of the Court.

3. Excepting adequate protection payments authorized to be paid by LBR 3015(c), and only to the extent funds are
available, the Trustee shall make disbursements on a monthly basis to the holders of allowed claims as set forth in the
terms of the Plan and as modified by this Order; provided, however, that the Trustee shall not be required to pay any
dividend to any claimant in an amount less than $15.00 and any dividends deferred under this provision shall be paid when
the accumulation of payments due to such claimant shall exceed the sum of $15.00. Upon the filing of any plan
modification motion, however, the Trustee is authorized to suspend disbursements to the holders of allowed claims
pending the resolution of that motion in order to determine the effect of the modification upon future disbursements.


________________________________
1 The use of the singular term “Debtor” in this Order includes both debtors when the case has been initiated by the filing of a joint petition by spouses.
2 All statutory references contained in this Order refer to the Bankruptcy Code, located in Title 11, United States Code.
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4. Pursuant to LBR 3015(f)(1), the Plan is amended through this Order without the necessity of further disclosure to
creditors in the following manner:

      None. All claims previously listed as a Cure Claim in § 3.2 of the Plan have been reclassified.
      § 3.2 of the Plan regarding the treatment of Cure Claims is MODIFIED in the following respects:

    Claimant          Collateral/Property/Contract     Debtor’s Projected Cure Plan Interest            Projected     Projected Total
                               Description              DPO       Claim Amount     Rate               Monthly Payment Cure Payment
                                                       Amount                                           by Trustee      by Trustee
Liberty Ntnl Bk In 502 Ashton Lane, Reno, TX           $2,168.55 $22,801.89    0%                     pro-rata         $22,801.89
Paris              75462

   Debt Maturing
During Plan Term.
    Debt Maturing
After Completion of
Plan Term.
   Curing Assumed
Executory Contract
or Lease Obligation
Pursuant to § 6.1.


Liberty Ntnl Bk In 502 Ashton Lane, Reno, TX           $332.28 $0.00                 0%               pro-rata         $0.00
Paris              75462

   Debt Maturing
During Plan Term.

    Debt Maturing
After Completion of
Plan Term.
   Curing Assumed
Executory Contract
or Lease Obligation
Pursuant to § 6.1.




        § 4.3 of the Plan regarding the payment of the allowed balance of Debtor’s attorney’s fees in this case is MODIFIED and shall
    be determined by:
       LBR 2016(h)(1);         by submission of a formal fee application. The total amount of attorney's fees requested by the
Debtor's attorney in this case is $4,000.00. The amount of $1,000.0 was paid to the Debtor's attorney prior to the Petition Date. The
allowed balance of attorney's fees will be paid by the Trustee from the remaining available funds after the payment of required
adequate protection payments pursuant to §§ 3.3 and 3.4 of this Plan.

   All other requirements and directives set forth in § 4.3 of the Plan remain in effect.

§ 5.3 Liquidation Analysis: Unsecured Claims Under Parts 4 & 5.

If the bankruptcy estate of the Debtor was liquidated under Chapter 7 of the Bankruptcy Code, the holders of priority unsecured claims
under Part 4 of this Plan and the holders of nonpriority unsecured claims under Part 5 of this Plan would be paid an aggregate sum of
approximately $157.39. Regardless of the particular payment treatments elected under Parts 4 and 5 of this Plan, the aggregate
amount of payments which will be paid to the holders of allowed unsecured claims under this Plan will be equivalent to or
greater than this amount.




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Part 8 of the Plan regarding non-standard provisions is MODIFIED in the following respects:
      None All terms previously listed in Part 8: Nonstandard provisions have been removed.
      Other Changes That Do Not Require Further Notice to Creditors.3 The Plan is MODIFIED in the following manner:


  Debtor agrees that the amount paid under this Plan to priority and unsecured creditors will not be less than $5,157.39,
  which is the total of non-exempt property plus the $5,000 transferred to his mother under 11 USC §§ 547 or 548(a)(1)(B).




                                                                                                     Signed on 12/18/2020

                                                                                                                                                         MD
                                                                                        HONORABLE BRENDA T. RHOADES,
                                                                                        UNITED STATES BANKRUPTCY JUDGE




APPROVED AS TO FORM AND SUBSTANCE:



x /s/ Carey D. Ebert                                                                          Date
  Carey D. Ebert, Chapter 13 Trustee


x /s/ J. Brian Allen                                                                          Date December 14, 2020
  Attorney for Debtor




________________________________
      3                                                                                  1.4 of the Chapter 13 Plan may not accomplished through this confirmation order
          The inclusion of any plan amendment that requires notification under §§ 1.1




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                                     UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF TEXAS
                                             SHERMAN DIVISION
IN RE: Jason Christopher Warren                                             CASE NO   20-41957

                    Debtor(s)                                               CHAPTER   13

                                  EXHIBIT "A" - VARIABLE PLAN PAYMENTS

                    PROPOSED PLAN OF REPAYMENT (VARIABLE PAYMENTS INTO THE PLAN)

 Month / Due Date      Payment                Month / Due Date   Payment                   Month / Due Date   Payment
  1    10/16/2020       $760.00                29   02/16/2023    $835.00                   57   06/16/2025    $835.00
  2    11/16/2020       $760.00                30   03/16/2023    $835.00                   58   07/16/2025    $835.00
  3    12/16/2020       $835.00                31   04/16/2023    $835.00                   59   08/16/2025    $835.00
  4    01/16/2021       $835.00                32   05/16/2023    $835.00                   60   09/16/2025    $835.00
  5    02/16/2021       $835.00                33   06/16/2023    $835.00
  6    03/16/2021       $835.00                34   07/16/2023    $835.00
  7    04/16/2021       $835.00                35   08/16/2023    $835.00
  8    05/16/2021       $835.00                36   09/16/2023    $835.00
  9    06/16/2021       $835.00                37   10/16/2023    $835.00
  10   07/16/2021       $835.00                38   11/16/2023    $835.00
  11   08/16/2021       $835.00                39   12/16/2023    $835.00
  12   09/16/2021       $835.00                40   01/16/2024    $835.00
  13   10/16/2021       $835.00                41   02/16/2024    $835.00
  14   11/16/2021       $835.00                42   03/16/2024    $835.00
  15   12/16/2021       $835.00                43   04/16/2024    $835.00
  16   01/16/2022       $835.00                44   05/16/2024    $835.00
  17   02/16/2022       $835.00                45   06/16/2024    $835.00
  18   03/16/2022       $835.00                46   07/16/2024    $835.00
  19   04/16/2022       $835.00                47   08/16/2024    $835.00
  20   05/16/2022       $835.00                48   09/16/2024    $835.00
  21   06/16/2022       $835.00                49   10/16/2024    $835.00
  22   07/16/2022       $835.00                50   11/16/2024    $835.00
  23   08/16/2022       $835.00                51   12/16/2024    $835.00
  24   09/16/2022       $835.00                52   01/16/2025    $835.00
  25   10/16/2022       $835.00                53   02/16/2025    $835.00
  26   11/16/2022       $835.00                54   03/16/2025    $835.00
  27   12/16/2022       $835.00                55   04/16/2025    $835.00
  28   01/16/2023       $835.00                56   05/16/2025    $835.00
